      Case 4:18-cv-00044                            Document 31   Filed on 04/19/18 in TXSD   Page 1 of 4
                                                                                                United States District Court
                                                                                                  Southern District of Texas

                                                                                                     ENTERED
                                                                                                     April 19, 2018
                               IN THE UNITED STATES DISTRICT COURT
                                                                                                  David J. Bradley, Clerk
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

KIMBERLY KJESSLER, individually '
and on behalf of all others similarly '                                           CASE NO. 4:18-cv-430
situated,                             '
                                      '
       Plaintiff,                     '
                                      '
v.                                    '
                                      '
ZAAPPAAZ, INC. d/b/a                  '
WB Promotions, Inc., d/b/a            '
Wrist-band.com, d/b/a                 '
Customlanlayrd.net, et al.,           '
                                      '
       Defendants.                    '
________________________________ '
                                      '
LAURA BRALEY, individually            '                                           CASE NO. 4:17-cv-3064
and on behalf of all others similarly '
situated,                             '
                                      '
v.                                    '
                                      '
MASHNOON AHMED, et al.,               '
                                      '
       Defendants.                    '
________________________________ '
                                      '
KLAIRE RUECKERT, individually         '                                           CASE NO. 4:17-cv-3607
and on behalf of all others similarly '
situated,                             '
                                      '
       Plaintiff,                     '
                                      '
v.                                    '
                                      '
ZAAPPAAZ, INC. d/b/a                  '
P:\ORDERS\11-2018\430Consolidate.docx 180419.1322
      Case 4:18-cv-00044                            Document 31   Filed on 04/19/18 in TXSD   Page 2 of 4




WB Promotions, Inc., d/b/a            '
Wrist-band.com, d/b/a                 '
Customlanlayrd.net, et al.,           '
                                      '
       Defendants.                    '
________________________________ '
                                      '
SUMMER LANG, individually             '                                           CASE NO. 4:18-cv-044
and on behalf of all others similarly '
situated,                             '
                                      '
       Plaintiff,                     '
                                      '
v.                                    '
                                      '
ZAAPPAAZ, INC. d/b/a                  '
WB Promotions, Inc., d/b/a            '
Wrist-band.com, d/b/a                 '
Customlanlayrd.net, et al.,           '
                                      '
       Defendants.                    '
________________________________ '
                                      '
TIMOTHY HAYDEN, individually          '                                           CASE NO. 4:18-cv-0883
and on behalf of all others similarly '
situated,                             '
                                      '
       Plaintiff,                     '
                                      '
v.                                    '
                                      '
GENNEX MEDIA, LLC, et al.,            '
                                      '
       Defendants.                    '

                                                              ORDER

            The Court has received Plaintiffs’ Joint Motion for Consolidation (the

“Motion”) [Doc. # 73] and Plaintiff Timothy Hayden’s Notice of Joinder in the

                                                                  2
P:\ORDERS\11-2018\430Consolidate.docx 180419.1322
      Case 4:18-cv-00044                            Document 31   Filed on 04/19/18 in TXSD   Page 3 of 4




Motion (the “Joinder”) [Doc. # 88]. Having consulted with the Judges in the

above-captioned cases who would be affected by the Motion and the Joinder, it is

hereby

            ORDERED that Plaintiffs’ Joint Motion for Consolidation [Doc. # 73] is

GRANTED. The following cases are TRANSFERRED to the undersigned and

CONSOLIDATED into case number 4:18-cv-430:

                   1. Kjessler v. Zaappaaz, Inc., et al., No. 18-00430 (S.D. Tex.)

                   2. Braley v. v. Zaappaaz, Inc., et al., No. 17-3064 (S.D. Tex.) (the

                         “Braley Action”)

                   3. Rueckert v. Zaappaaz, Inc., et al., No. 17-3607 (S.D. Tex.) (the

                         “Rueckert Action”)

                   4. Lang v. Zaappaaz, Inc., et al., No. 18-0044 (S.D. Tex.) (the “Lang

                         Action”)

                   5. Haden v. Zaappaaz, Inc., et al., No. 18-0883 (S.D. Tex.) (the “Haden

                         Action”)

It is further

            ORDERED that all future pleadings are to be filed only under case number

4:18-cv-430.




                                                                  3
P:\ORDERS\11-2018\430Consolidate.docx 180419.1322
      Case 4:18-cv-00044                            Document 31   Filed on 04/19/18 in TXSD   Page 4 of 4




            SIGNED at Houston, Texas, this 19th day of April, 2018.




                                                                               NAN Y F. ATLAS
                                                                      SENIOR UNI   STATES DISTRICT JUDGE




                                                                  4
P:\ORDERS\11-2018\430Consolidate.docx 180419.1322
